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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :       Case No.: 21-CR-726 (CJN)
                                               :
          v.                                   :       18 U.S.C. § 111(a) and (b)
                                               :
JOSIAH KENYON,                                 :
                                               :
          Defendant.                           :
                                               :

                                  STATEMENT OF OFFENSE

          Pursuant to Fed. R. Crim. P. 11, the United States of America, by and through its attorney,

the United States Attorney for the District of Columbia, and the defendant, JOSIAH KENYON,

with the concurrence of his attorney, agree and stipulate to the below factual basis for the

defendant’s guilty plea—that is, if this case were to proceed to trial, the parties stipulate that the

United States could prove the below facts beyond a reasonable doubt:

                         The Attack at the U.S. Capitol on January 6, 2021

          1.      The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured twenty-four hours a day by U.S. Capitol Police (USCP). Restrictions around the Capitol

include permanent and temporary security barriers and posts manned by USCP. Only authorized

people with appropriate identification are allowed access inside the Capitol.

          2.      On January 6, 2021, the exterior plaza of the Capitol was closed to members of the

public.

          3.      On January 6, 2021, a joint session of the United States Congress convened at the

Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected

members of the United States House of Representatives and the United States Senate were meeting

to certify the vote count of the Electoral College of the 2020 Presidential Election, which had taken


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place on Tuesday, November 3, 2020. The joint session began at approximately 1:00 PM. Shortly

thereafter, by approximately 1:30 PM, the House and Senate adjourned to separate chambers to

resolve a particular objection. Vice President Mike Pence was present and presiding, first in the

joint session, and then in the Senate chamber.

        4.      As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the Capitol.

Temporary and permanent barricades, as noted above, were in place around the exterior of the

Capitol, and USCP officers were present and attempting to keep the crowd away from the Capitol

and the proceedings underway inside.

        5.      At approximately 2:00 PM, certain individuals in the crowd forced their way

through, up, and over the barricades. Officers of the USCP were forced to retreat and the crowd

advanced to the exterior façade of the building. The crowd was not lawfully authorized to enter or

remain in the building and, prior to entering the building, no members of the crowd submitted to

security screenings or weapons checks as required by USCP officers or other authorized security

officials.

        6.      At such time, the certification proceedings were still underway, and the exterior

doors and windows of the Capitol were locked or otherwise secured. Members of the USCP

attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after

2:00 PM, individuals in the crowd forced entry into the Capitol, including by breaking windows

and by assaulting members of law enforcement, as others in the crowd encouraged and assisted

those acts. The riot resulted in substantial damage to the Capitol, requiring the expenditure of more

than $1.4 million dollars for repairs.




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       7.      Shortly thereafter, at approximately 2:20 PM, members of the House of

Representatives and of the Senate, including the President of the Senate, Vice President Pence,

were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of the United

States Congress, including the joint session, were effectively suspended until shortly after 8:00

PM on January 6, 2021. In light of the dangerous circumstances caused by the unlawful entry to

the Capitol—including the danger posed by individuals who had entered the Capitol without any

security screening or weapons check—Congressional proceedings could not resume until after

every unauthorized occupant had been removed from or left the Capitol, and USCP confirmed that

the building was secured. The proceedings resumed at approximately 8:00 PM after the building

had been secured. Vice President Pence remained in the Capitol from the time he was evacuated

from the Senate Chamber until the session resumed.


               Josiah Kenyon’s Participation in the January 6, 2021, Capitol Riot

       8.      The defendant, JOSIAH KENYON, traveled by car to Washington, D.C., with his

wife and children to attend the “Stop the Steal” rally on January 6, 2021.

       9.      On January 6, defendant entered the U.S. Capitol building around 2:53 p.m. and

stayed until approximately 3:18 p.m. He was captured on Capitol security cameras near the Senate

wing doors, as well as the Crypt area.

       10.      While outside of the Capitol building JOSIAH KENYON, along with others,

damaged an exterior window of the Capitol building. He first hit the window with his fist and then

used a flag pole to hit the window. The cost to replace the damaged window was $41,315.25.




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        11.     JOSIAH KENYON also was in the Lower West Terrace area of the Capitol building

between approximately 4:54 p.m. and 5:04 p.m. Defendant used a variety of objects to assault

officers in the tunnel.

        12.     For instance, JOSIAH KENYON is seen pushing an unknown white object towards

officers at 4:56:18 pm. He throws another unknown object towards officers at 4:46:42 pm.

        13.     JOSIAH KENYON throws a large plastic pylon towards officers at 5:01:03 pm.

The pylon strikes Metropolitan Police Department (“MPD”) Officer I.F.’s riot shield.

        14.     At approximately 5:01:24, JOSIAH KENYON begins striking officers with what

appears to be a table leg. He first strikes MPD Officer K.H. in the leg after Officer K.H. falls to

the ground. Officer K.H. suffered bodily injury in the form of pain and swelling to his right

ankle. JOSIAH KENYON then hits MPD Officer C.L. in the head with the chair leg. Officer

C.L. is wearing a helmet and as he is struck, a p a r t o f t h e t a b l e l e g becomes

momentarily lodged in the opening between the top of the officer’s face shield and the helmet.

Because it was lodged, as JOSIAH KENYON pulls back with the table leg, the face shield

momentarily lifts up and off of Officer C.L.’s face.

                                     Elements of the Offense

        15.     JOSIAH KENYON knowingly and voluntarily admits to all the elements of assault

on a federal officer. Specifically, defendant admits that he forcibly assaulted, resisted, opposed,

impeded, intimidated, or interfered with any person designated in 18 U.S.C. § 1114 while engaged

in or on account of the performance of their official duties. Specifically, the defendant admits that

he struck Officer K.H. with a dangerous weapon, a table leg. In doing so, he caused Officer

K.H. bodily injury. He further struck Officer C.L. with a dangerous weapon, the same table leg

that he used to strike Officer K.H. The officers were individuals assisting the United States



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Capitol Police, that is, officers from the Metropolitan Police Department. The defendant

further admits that he knew at that time of the assault of the officers that the officers were

engaged in the performance of their official duties.


                                                       Respectfully submitted,

                                                       MATTHEW M. GRAVES
                                                       United States Attorney
                                                       D.C. Bar No. 481052


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                         DEFENDANT'S ACKNOWLEDGMENT


        I, JOSIAH KENYON, have read this Statement of the Offense and have discussed it with
my attorney. I fully understand this Statement of the Offense. I agree and acknowledge by my
signature that this Statement of the Offense is true and accurate. I do this voluntarily and of my
own free will. No threats have been made to me nor am I under the influence of anything that could
impede my ability to understand this Statement of the Offense fully.


Date:     l
                                      JOSI   'KENYON
                                      Defendant


                          ATTORNEY'S ACKNOWLEDGMENT


       I have read this Statement of the Offense and have reviewed it with my client fully. I concur
in my client's desire to adopt this Statement of the Offense as true and accurate.



Date:         ~~   ?
                                                     AN
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